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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ANNIE FLANAGAN,

                               Plaintiff,                     Docket No. 1:20-cv-3822

        - against -                                           JURY TRIAL DEMANDED


 GROCERY DELIVERY E-SERVICES USA INC.

                                Defendant.


                                            COMPLAINT

       Plaintiff Annie Flanagan (“Flanagan” or “Plaintiff”) by and through her undersigned

counsel, as and for her Complaint against Defendant Grocery Delivery E-Services USA Inc.

(“Grocery Delivery” or “Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of Sean Julian, a FedEx driver, delivery during the COVID-19

pandemic, owned and registered by Flanagan, a professional photographer. Accordingly,

Flanagan seeks monetary relief under the Copyright Act of the United States, as amended, 17

U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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       3.      Upon information and belief, this Court has personal jurisdiction over Defendant

because Defendant resides and/or transacts business in New York.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Flanagan is a professional photographer in the business of licensing her

photographs for a fee having a usual place of business at 3305 Banks Street, New Orleans,

Louisiana 70119.

       6.      Upon information and belief, Grocery Delivery is a business corporation duly

organized and existing under the laws of the State of Delaware with a place of business at 28

Liberty Street, 10th Floor, New York 10005. Upon information and belief, Grocery Delivery is

registered with the New York State Department of Corporations to do business in New York. At

all times material hereto, Grocery Delivery has operated their Instagram Story at the URL:

www.Instagram.com/HelloFresh (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Flanagan photographed Sean Julian, a FedEx driver, delivery during the COVID-

19 pandemic (the “Photograph”). A true and correct copy of the Photograph is attached hereto as

Exhibit A.

       8.      Flanagan is the author of the Photograph and has at all times been the sole owner

of all right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with United States Copyright Office and was

given Copyright Registration Number VA 2-202-848.

       B.      Defendant’s Infringing Activities
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        10.     Grocery Delivery ran the Photograph on the Website. A screenshot of the

Photograph on the Website is attached hereto as Exhibit B.

        11.     Grocery Delivery did not license the Photograph from Plaintiff for its Website,

nor did Grocery Delivery have Plaintiff’s permission or consent to publish the Photograph on its

Website.

                                 CLAIM FOR RELIEF
                      (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                 (17 U.S.C. §§ 106, 501)

        12.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

        13.     Grocery Delivery infringed Plaintiff’s copyright in the Photograph by reproducing

and publicly displaying the Photograph on the Website. Grocery Delivery is not, and has never

been, licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

        14.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

        15.     Upon information and belief, the foregoing acts of infringement by Grocery

Delivery have been willful, intentional, and purposeful, in disregard of and indifference to

Plaintiff’s rights.

        16.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.
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       17.     Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).

       18.     Plaintiff further is entitled to her attorney’s fees and full costs pursuant to

17 U.S.C. § 505.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Grocery Delivery be adjudged to have infringed upon Plaintiff’s

               copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.      That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s

               profits, gains or advantages of any kind attributable to Defendant’s infringement

               of Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

               per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       4.      That Plaintiff be awarded her costs, expenses and attorneys’ fees pursuant to 17

               U.S.C. § 505;

       5.      That Plaintiff be awarded pre-judgment interest; and

       6.      Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       May 15, 2020
                                                               LIEBOWITZ LAW FIRM, PLLC
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                                      By: /s/Richard Liebowitz
                                           Richard P. Liebowitz
                                      11 Sunrise Plaza, Suite 305
                                      Valley Stream, NY 11580
                                      Tel: (516) 233-1660
                                      RL@LiebowitzLawFirm.com

                                     Attorneys for Plaintiff Annie Flanagan
